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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
__________________________________________
 VIVIAN PATZ and MICHAEL PATZ,             )
                                           )
                  Plaintiffs,              ) Civil Action No.: 2:17-cv-03465
      v.                                   )
                                           ) Judge Susie Morgan
 SUREWAY SUPERMARKET, et al.               ) Magistrate Janis Van Meerveld
                                           )
                 Defendants.               )


MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION IN LIMINE REGARDING
      PLAINTIFFS’ PRE-SUREWAY EMPLOYMENT INFORMATION
       Plaintiffs, through undersigned counsel, respectfully file this memorandum in support of

their motion in limine to exclude evidence or argument relating to Plaintiffs’ work history and

employment records prior to their employment at Sureway Supermarket.

       This case is about whether Defendants fired and evicted Vivian Patz because she became

pregnant while working at Sureway Supermarket. Among the potential exhibits Defendants listed

for potential use at trial (R. Docs. 104, 133), are personnel files for Vivian Patz from prior

employers. Defendants also asked both Vivian and Michael Patz extensive questions about their

work history prior to Sureway. Nothing about Plaintiff’s pre-Sureway employment has any

relevance to the Defendants’ motivation for firing Vivian or any other question at issue. Further,

the only purpose for which Defendants offer such evidence is to suggest that Vivian failed to check

in during the week after she was instructed to return with a doctor’s note, and the evidence is

therefore barred by FRE 404(b). For these reasons, set forth in more detail below, Plaintiffs

respectfully request that this Court grant this motion in limine.




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I.      Overview of the Evidence at Issue

        Defendants asked both Plaintiffs at length about their pre-Sureway work history during

deposition. In addition,Defendants subpoenaed Vivian Patz’s personnel files from employers other

than Sureway Supermarket. These documents include Vivian’s periods of employment with Winn

Dixie, Office Depot, and Home Depot dating back to 2010. See R. Doc. 104 (Exhibits 1(i)(c-e)).

The personnel files contain a variety of information wholly irrelevant to these proceedings, such

as    applications   for   employment,   payroll       records,   employment   certificates,   policy

acknowledgements, drug testing consent forms, medical questionnaires, emergency contacts, tax

information, and performance reviews. Those documents include the following documents from

Office Depot:

     1) Def-1125: Manager’s Record of Discussion Form from November, 2014, regarding an
        argument between Vivian and a manager regarding a copy job re-do.

     2) Def-1128-1129: Performance Correction Document from February, 2015, regarding an
        issue with copy and print guidelines.

     3) Def-1130-1133: Performance Correction Document from January, 2015, regarding
        attendance and a report detailing work absences.

     4) Def-1134: Manager’s Record of Discussion Form from December, 2014, regarding
        attendance.

     5) Def-1135: Performance Correction Document from March, 2013, regarding a mandatory
        story meeting.

     6) Def-1136: Termination notice from January, 2015, which mentions attendance.

        In this motion, Plaintiffs seek to exclude all of the above-referenced documents and any

references to either Plaintiff’ss pre-Sureway work history. As set forth below, none of this

evidence relating to work history at previous employers bears any relevance to the facts or legal

questions at issue in this case. For example, that Vivian may have had attendance issues while

employed elsewhere does not make it any more or less likely that Defendants fired Vivian because


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she was pregnant. These documents and other references to Plaintiffs’ pre-Sureway work history

would serve only to attack their character and are not allowed under the Federal Rules of Evidence.

II.    Analysis

       A.      Evidence of past acts must be excluded unless they meet three criteria: that they are
               for a specific allowed purpose, are relevant, and are not prejudicial.

       Under Federal Rules of Evidence 401 and 402, only evidence that is of “consequence in

determining the action” is admissible. And per Federal Rule of Evidence 404(b)(1), “[e]vidence

of a crime, wrong, or other act is not admissible to prove a person’s character in order to show that

on a particular occasion the person acted in accordance with the character.” Evidence of specific

past acts, however, “may be admissible for another purpose, such as proving motive, opportunity,

intent, preparation, plan, knowledge, identity, absence of mistake, or lack of accident.” Fed. R.

Evid. 404(b)(2). But if the purpose is to show that an individual acted in a particular way at a time

relevant to the dispute, that would be barred by the Rule. See, e.g., U.S. v. Beechum, 582 F.2d 898,

910 (5th Cir. 1978) (even if past acts are relevant “because a man of bad character is more likely

to commit a crime than one not, the principle prohibits such evidence because it is inherently

prejudicial”). In addition to the bar on using past acts to prove character, the Fifth Circuit has

developed a two-part inquiry for evidence of past acts to be admitted: “First, it must be determined

that the [other acts] evidence is relevant to an issue other than the defendant's character. Second,

the evidence must possess probative value that is not substantially outweighed by its undue

prejudice.” Id. at 911.

       Here, the evidence relating to Plaintiffs’ past employment is not relevant to any issue other

than their character. Indeed, Plaintiffs anticipate that Defendants intend to introduce Vivian’s non-

Sureway personnel records in order to suggest that just as Vivian had unexcused absences at Office

Depot or other places of employment, she did not check in with Sureway after being instructed to


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return with a doctor’s note, thus justifying her termination from Sureway. This is a classic example

of an effort to introduce evidence of past bad acts to prove that a witness acted in accordance

therewith on a particular occasion, which is prohibited pursuant to FRE 404(b). Such a use would

not meet any of the three criteria for admissibility of past acts, as it is not for a specific allowed

purpose, is not relevant, and is prejudicial to Plaintiffs. Any possible probative value of the

evidence is substantially outweighed by its undue prejudice to Plaintiffs.

       B.      Vivian’s non-Sureway employment records are not relevant because her absence
               from Sureway is not a disputed issue.

       Defendants might attempt at trial to introduce Vivian’s non-Sureway personnel records

showing unexcused absences in other jobs. For example, Def-1130 and Def-1134 describe

Vivian’s failure to work her scheduled shifts in December 2014 and January 2015 and the fact that

she had attendance issues while employed at Office Depot. Such evidence has no relevance to the

issues in this case, because it is undisputed that Vivian was out of work in the days leading up to

her termination at the direction of Defendant Shelly Jambon:

       Q. Did you tell her that she couldn’t come back until she had a doctor’s note?

       A. I told her to go home, because she wasn’t feeling good, and she thought she
       might be pregnant, and I asked her, “Well, how do you know,” and she said she
       didn’t know, and I said, “Well, go home and come back with a doctor’s note.” I
       need to know what she could and couldn’t do.

       Q. Did you mean she wasn’t supposed to return to work until she had a doctor’s
       note?

       A. Yes.

R. Doc. 115-4 (Deposition of Shelly M. Jambon), Pg:41, Ln14-25; Id. at Pg:133, Ln:21-25 (“Q.

But you had told her not to – or tried to communicate to her not to return without a doctor’s note.

Is that right? A. Not to come back to work without a doctor’s note.”). Thus, Vivian’s absence was

not only excused, but ordered by Defendants.


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        The only dispute, as far as Vivian’s absence is concerned, is about whether she stayed in

contact with Defendants during that excused absence. Defendants have stated throughout this

lawsuit that that Vivian was not fired for an unexcused absence or work performance, but for

failing to bring in a doctor’s note after four days. See, e.g., R. Doc. 115-4, Pg:72, Ln:13-18.

        Vivian’s non-Sureway employment records show unexcused absences, but there is no

indication in any of them that the absence was due to a medical issue or that Vivian failed to timely

obtain a doctor’s note. Furthermore, the absences noted in the personnel files were years prior to

her employment at Sureway and were subject to the policies and procedures of other employers,

not the policies and procedures relevant to Defendants. Thus, the documents lack any factual

relevance to the issues for trial in this case.

        C.      Plaintiff’s non-Sureway employment history would not be useful for any FRE 404-
                approved purpose.

        Plaintiffs’ non-Sureway employment records or history would not provide any insight into

“motive, opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or lack of

accident” as Vivian was sent home from Sureway by Defendants. See Fed. R. Evid. 404(b)(2)).

Defendants have not argued that she had any intent or motive to intentionally skip work, and in

fact, she was actively trying to return with a doctor’s note as soon as possible. R. Doc. 115-2 ¶ 5.

        Nor do any of these documents rise to the level of another exception that could justify their

use: habit. Fed. R. Evid. 406 (“Evidence of a person’s habit or an organization’s routine practice

may be admitted to prove that on a particular occasion the person or organization acted in

accordance with the habit or routine practice.”). Habit and character are very similar; while

“[c]haracter is a generalized description of one’s disposition,” habit is more precise as it “describes

one’s regular response to a repeated specific situation.” Reyes v. Missouri Pac. R. Co., 589 F.2d

791, 794 (5th Cir., 1979); see also Pursley v. Dretke, 114 Fed.Appx. 630, 634 (5th Cir.2004)


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(unpublished) (“habit” means “a specific reaction to a specific set of stimuli that is reflexive,

repeated, and invariable in nature.”). The personnel file documents span approximately eight years

of Vivian’s employment history and only show a handful of absences, which on its face is not a

great enough frequency to consider as a habit. See, e.g., Leonard v. Nationwide Mut. Ins. Co., 499

F.3d 419 (5th Cir., 2007) (comments made to five customers over the course of a decade “do not

remotely qualify or quantify as a habit.”). Frequency aside, habit requires a repeated response to a

specific situation. None of the documents involve Vivian being ordered by her employer to not

return without a doctor’s note, so even more frequent absences would not be in response to this

specific situation.

        Similarly, the reason for Michael Patz’s firing is not an issue in this case. R. Doc. 133

(Proposed Pre-Trial Order) at 7-12 (Michael’s firing not among contested issues of fact or law).

For that reason, evidence or argument about his pre-Sureway work history is not relevant here.

        D.      Because it is irrelevant, any probative value of pre-Sureway employment
                information would be outweighed by prejudice.

        Because Plaintiff’s pre-Sureway employment histories shed no light on any disputed facts

or legal issues, the probative value of such evidence would be “substantially outweighed by its

undue prejudice.” Beechum, supra, 582 F.2d 898 at 911. Including irrelevant documents in

evidence would mislead the jury into drawing a false factual comparison between the work

performance issues from Vivian’s past employment and the week at Sureway where she was

ordered out of work to obtain a doctor’s note, and to conclude that because Vivian had unexcused

absences at Office Depot or other places of employment, she did not check in with Sureway after

being instructed to return with a doctor’s note. The documents could invite the jury to conclude

that poor work performance is a character trait of Vivian’s, when that has not been alleged by

Defendants and is not at issue. Vivian was terminated, according to Defendants, because of her


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absence while trying to obtain a doctor’s note for her pregnancy, not because of any performance

or attendance issues that could be implied by her past work history. The undue prejudice that

allowing evidence of Vivian’s past employment, particularly records relating to attendance and

discipline, is substantial, as the central and determinative issue in this case is why Vivian was

terminated.

III.    Conclusion

        As set forth herein, the Federal Rules of Evidence bar any evidence or argument about

Plaintiffs’ pre-Sureway employment because they would have no relevance to the matters at hand

and would function only as an attack on Plaintiffs’ character and unduly prejudice Vivian by

suggesting that she failed to check in with Sureway after she was asked to return with a doctor’s

note. Plaintiffs therefore ask this Court to grant their motion in limine.

                                       VIVIAN BLACKLEDGE and MICHAEL PATZ, by and
                                       through their counsel,

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